12 F.3d 215
    88 Ed. Law Rep. 57
    NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Terry L. WIDENER, Jr.;  Plaintiff-Appellant,Cindy Widener, Natural Mother and Guardian of Terry L.Widener, Jr., Plaintiff,v.Doris FRYE, Individually and as Principal, Cape High School,et al., Defendant-Appellee.
    No. 93-3029.
    United States Court of Appeals, Sixth Circuit.
    Nov. 15, 1993.
    
      1
      Before:  GUY and RYAN, Circuit Judges;  and MILES, Senior District Judge.*
    
    ORDER
    
      2
      This cause having come on to be heard upon the record, the briefs and the oral argument of the parties, and upon due consideration thereof,
    
    
      3
      The court finds that no prejudicial error intervened in the judgment and proceedings in the district court, and it is therefore ORDERED that said judgment be and it hereby is affirmed.
    
    
      
        *
         The Honorable Wendell A. Miles, Senior U.S. District Judge for the Western District of Kentucky, sitting by designation
      
    
    